       Case 2:17-cv-00404-KG-SMV Document 82 Filed 10/20/20 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

NORA CANDELARIA, KIMANI
SINGLETON and all others similarly situated
under 29 USC § 216(b),                                Case No. 2:17-cv-404-KG-SMV

   Plaintiffs,                                        COLLECTIVE AND CLASS ACTION
                                                      COMPLAINT
        v.

HEALTH CARE SERVICE CORPORATION,

   Defendant.

                               ORDER GRANTING
             JOINT MOTION FOR EXTENSION OF TIME TO SERVE AND FILE
               PROPOSED FINDINGS AND RECOMMENDED DISPOSITION

         This matter, having come before the Court on the Parties’ Joint Motion for Extension of

  Time to Serve and File Proposed Findings and Recommended Disposition (“Motion”), and the

  Court being fully advised, hereby orders that the Motion is GRANTED.

         The deadline for the Parties to serve by email and to file the Proposed Findings and

  Recommended Disposition is hereby extended to October 20, 2020.


        SIGNED on _October 20_, 2020.



                                            ____________________________________
                                            STEPHAN M. VIDMAR
                                            UNITED STATES MAGISTRATE JUDGE
           Case 2:17-cv-00404-KG-SMV Document 82 Filed 10/20/20 Page 2 of 3




Respectfully submitted on October 19, 2020

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Electronically approved on October 14, 2020.

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           Case 2:17-cv-00404-KG-SMV Document 82 Filed 10/20/20 Page 3 of 3




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